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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

CBV, INC.,

               Plaintiff/Counterclaim-
               Defendant,
                                                      C.A. No. 1:21-cv-01456-MN
        v.

CHANBOND, LLC,

               Defendant/Crossclaim-
               Defendant,

DIERDRE LEANE, and IPNAV, LLC,

               Defendants/Counterclaim-
               Plaintiffs/Crossclaim-
               Plaintiffs.


                                    NOTICE OF SERVICE

        I,   Geoffrey   G.   Grivner,    hereby   certify   that   true   and   correct   copies   of

Plaintiff/Counterclaim Defendant CBV, Inc.’s First Requests for Production of Documents

were served on the 31st day of March, 2022 on the following counsel of record by electronic

mail:

                                     Stephen B. Brauerman
                                      Ronald P. Golden, III
                                          Bayard, P.A.
                                  600 N. King Street, Ste. 400
                                     Wilmington, DE 19801
                               Email: sbrauerman@bayardlaw.com
                                Email: rgolden@bayardlaw.com

                                   Attorneys for ChanBond, LLC




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                                 James Harry Stone Levine
                          Troutman Pepper Hamilton Sanders, LLP
                                      Hercules Plaza
                              1313 N. Market Street, Ste. 5100
                                      P.O. Box 1709
                               Wilmington, DE 19899-1709
                            Email: james.levine@troutman.com

                        Attorneys for IPNAV, LLC and Deirdre Leane



                                        BUCHANAN, INGERSOLL & ROONEY PC

Dated: March 31, 2022                   /s/ Geoffrey Grivner
                                        Geoffrey G. Grivner (#4711)
                                        Kody M. Sparks (#6464)
                                        500 Delaware Avenue, Suite 720
                                        Wilmington, DE 19801-3036
                                        (302) 552-4200
                                        geoffrey.grivner@bipc.com
                                        kody.sparks@bipc.com

                                        *       *      *

                                        Patrick C. Keane, Esq.
                                        BUCHANAN, INGERSOLL & ROONEY PC
                                        1737 King Street, Suite 500
                                        Alexandria, VA 22314-2727
                                        (703) 836-6620
                                        patrick.keane@bipc.com

                                        Attorneys for Plaintiff




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